Case No. 1:20-cr-00305-DDD Document 61 filed 10/27/20 USDC Colorado pg 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Criminal Action No. 20-cr-305-DDD

UNITED STATES OF AMERICA,

        Plaintiff,

v.

     1. Michael Aaron Tew,

        Defendant.



                     UNOPPOSED MOTION TO RESTRICT DKT. 60 AND
                           ANY ORDER GRANTING DKT. 60




        The United States of America, through Assistant United States Attorneys Hetal J. Doshi and

Matthew T. Kirsch, respectfully moves the Court, pursuant to District of Colorado Local Rule 47.1,

for an order restricting at a Level 1, reviewable by the parties and the Court, the following items: (1)

Third Joint Motion to Exclude Time Before Indictment (Dkt. 60); (2) any Order granting that

motion; and (3) the brief filed in support of this motion, for the reasons stated in the brief filed in

support of this motion. This motion seeks that all these materials be restricted until January 23,

2021.
Case No. 1:20-cr-00305-DDD Document 61 filed 10/27/20 USDC Colorado pg 2 of 3




Dated this 27th day of October, 2020.

                                               Respectfully submitted,

                                               JASON R. DUNN
                                               United States Attorney

                                               s/Hetal J. Doshi
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                              CERTIFICATE OF WORD COUNT

I hereby certify that the foregoing pleading complies with the type-volume limitation set forth in
Judge Domenico’s Practice Standard III(A)(1).

                                                       s/Hetal J. Doshi
                                                       HETAL J. DOSHI
                                                       Assistant U.S. Attorney
Case No. 1:20-cr-00305-DDD Document 61 filed 10/27/20 USDC Colorado pg 3 of 3




                                  CERTIFICATE OF SERVICE

        I certify that on this 27th day of October, 2020, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

counsel of record in this case.



                                                        s/Hetal J. Doshi
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